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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 QUINN GLOVER, by and through his next
 friend, ELIZABETH GLOVER,
                                                             Case No. 18-629
         P)aintiff,

                v.

 ALLEGHENY COUNTY; and ORLANDO                               ELECTRO NI CALLY FILED
 HARPER, Warden of Allegheny County Jail;,

         Defendants.

                               AMENDED ORDER OF COURT



       AND NOW this 11th day of May, 2018, upon consideration of Plaintiffs Motio                  for a

Preliminary Injunction and having conducted a hearing and oral argument thereon                n this

date, the Court hereby finds that:

        1. Plaintiff Quinn Glover has a reasonable probability of success on the merits on h ·s claim

that Defendants' actions in housing him in unit 5C at the Allegheny County Jail c              stitute

deliberate indifference to his serious medical and psychiatric needs in violation of h s rights

under the Fourteenth Amendment to the United States Constitution.

       2. Plaintiff will be irreparably harmed if this Court does not order Defendants to re urn Mr.

Glover to the Jail's medical unit.

       3. The harm that denying the preliminary injunction motion will cause Plaintif outweighs any

harm that Defendants will suffer if the motion is granted;

       4. Granting Plaintiff the preliminary injunction that he seeks is in the public inter st;

and



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       S. This relief is narrowly tailored, minimally. intrusive and not the cause of undue

expense or burden to the Jail.

       It is therefore ORDERED that, pending further order of the Court, Defendants, an their

officers, agents, and employees are enjoined from housing Plaintiff in unit SC and shall h use

Plaintiff in unit SB.




                                                             BY THE COURT:




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